
PER CURIAM.
| denied. The District Court correctly dismissed each of relator’s claims for post-conviction relief. We attach hereto and make a part hereof the District Court’s well-considered reasons denying relator post-conviction relief. Furthermore, the application was not timely filed in the district court, and relator has failed to carry, his burden to show that an exception applies. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189.
Relator has now .fully litigated his application for - poskconviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions, the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within .the limitations period as. set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make *500the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive | ^application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
